Case 2:19-Cv-O8@t#eD SATED DISPRICTCOURT, CENTRADBISTRIC? OF GQGFORNIA Page ID #:463
CIVIL COVER SHEET

 

I. (a) PLAINTIFFS ( Check box if you are representing yourself [| )

HYLINK (USA) DIGITAL SOLUTION CO., LTD.; Jiahui LI

DEFENDANTS

( Check box if you are representing yourself { | )

Kathy A. BARAN, Director, USCIS California Service Center; Kenneth T. CUCCINELLI,
Director, U.S. Citizenship and Immigration Services; Kevin M. MCALEENAN, Acting
Secretary, U.S. Department of Homeland Security

 

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Megan Guzman and David Hirson
1122 Bristol Street, Floor 1
Costa Mesa, CA 92626

 

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

U.S. Attorney's Office, Central District of California
312.N. Spring Street, Suite 1200

Los Angeles, CA 90012

 

 

 

949-383-5358 213-894-2400
Il. BASIS OF JURISDICTION (Place an X in one box only.) Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF iat PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State C])i o)1 Incorporated or Principal Place cl4 4
Plaintiff Government Not a Party)
Citizen of Another State [] 2 [] 2 Incorporated and PrincipalPlace [] 5 L] 5
. . di - hi of Business in Another State
2. U.S. Government 4. Diversity (Indicate Citizenship {Citizen or Subject of a Foreign Nation 6 6
Defendant of Parties in Item III) Foreign Country L13 (3 9 L] 6 (J
IV. OnIGmS (Place an X in one box only.) . 6. Multidistrict 8. Multidistrict
1, Original 2. Removed from Oo 3. Remanded from Cl 4. Reinstated or O 5. Transferred from Another O Litigation - O Litigation -
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [ | Yes No
CLASS ACTION under F.R.Cv.P. 23:

[_ ]|Yes No

(Check "Yes" only if demanded in complaint.)

[_] MONEY DEMANDED IN COMPLAINT: $

 

Vi. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Administrative Procedure Act (5 U.S.C. section 701-706)

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land Oo Anplauon ton Habeas Corpus: [_] 820 Copyrights
376 Qui Tam [-] 120 Marine [_] 245 Tort Product [_] 463 Alien Detainee [1] 830 Patent
Oo Liability 465 Other O 510 Motions to Vacate .
(31 USC 3729(a)) [-] 130 Miller Act [] 290 All Other Real LI immigration Actions Sentence oO 835 Patent - Abbreviated
g 400 State 140 Negotiable Property TORTS [_] 530 General New Drug Application
Reapportionment CI instrument TORTS PERSONAL PROPERTY |[_| 535 Death Penalty [_] 840 Trademark
(J 410 Antitrust 150 Recovery of Fn arpla INJURY | 370 Other Fraud Other: SOCIAL SECURITY
[] 430 Banks and Banking |[_] Overpayment 10 Airplane ; ; 540 Mandamus/Other |L_] 861 HIA (1395ff)
450 Commerce/ICC judgment ntof CI 315 Aspine Cy 371 Truth in Lending |) ivil Ri [_] 862 Black Lung (923)
LI Rates/etc. 9 Product Liability 380 Other Personal |[_] 550 Civil Rights 9
. 151 Medicare Act 320 Assault, Libel & OC) Property Damage 555 Prison Condition 863 DIWC/DIWW (405 (g))
[_] 460 Deportation CI Sland CL]
Slander . :
. 152 Recovery of ' 385 Property Damage 560 Civil Detainee 864 SSID Title XVI
O enced & Conupt Org [1] Defaulted Student |[] 330 Fed: Employers LI Product Liability |[] Conditions of W
. Liability Confi t [_] 865 RSI (405 (g))
[_] 480 Consumer Credit Loan (Excl. Vet.) 340 Mari BANKRUPTCY one
[_] 490 Cable/Sat Tv 153 Recovery of O a45 Marine Product |[-] 422Appeal 28 FORFEITURE/PENALTY FEDERAL TAX SUITS
“4: LC] Overpaymentof |[] [jability USC 158 625 Drug Related 870 Taxes (U.S. Plaintiff or
Og 850 Securities/Com- Vet. Benefits g 423 Withdrawal 28 CL] Seizure of Property21 |[] Defendant)
modities/Exchange
" 9 [1] 160 Stockholders’ L] 350 Motor Vehicle USC 157 soo on 871 IRS-Third Party 26 USC
890 Other Statutory Suits [[] 355 Motor Vehicle CIVIL RIGHTS O er LI 7609
L] i Product Liabili
Actions oduct Liability O 440 Other Civil Right LABOR
L] 891 Agricultural Acts O Contrant ‘ CL 360 Other Personal “_" 710 Fair Labor Standards
. Injury [_] 441 Voting C
893 Environmental . Act
C 195 Contract 362 Personal Injury-
Matters jomotint LI Product Liability |C MedMalpratice  |L1 442 Employment /--) 720 Labor/Mgmt
reedom of Info. . ary. jousing, ‘elations
LI ae [_] 196 Franchise Oo 365 Personal Injury- |[] -commodations
Product Liability [_] 740 Railway Labor Act
[1 896 Arbitration REAL PROPERTY 367 Health Care/ 45 American with 751 Family and Medical
. [] 210 Land [[] Pharmaceutical [_] Disabilities- CT
899 Admin. Procedures i ; Empl t Leave Act
: Condemnation Personal Injury mploymen
Act/Review of Appeal of LJ 220 Foreclosure Product Liability oO 446 American with CT 790 Other Labor
Agency Decision 230Rent Lease & |f-) 208 Asbestos Disabilities-Other Litigation
950 Constitutionality of ent Lease P I Inj : 791 Employee Ret. Inc.
U state Statutes U Ejectment Product Liabiltty L] 448 Education LI security Act
FOR OFFICE USE ONLY: Case Number: 2:19-cv-8222
CV-71 (05/17) CIVIL COVER SHEET Page 1 of 3
Case 2:19-Cv-O8@R#ED STATES DISPRICTCOURE, CENIRADDISFRIC? OFGQGFORNIA Page ID #:464

CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?

[] Yes

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

[x] No

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[_] Orange Southern
[_] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[_] Yes No

If "no," skip to Question C. If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

O

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

Yes [_] No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

QUESTION D: Location of plaintiffs and defendants?

Enter "Western" in response to Question E, below, and continue
from there.
A. B. c.
Riverside or San Los Angeles, Ventura,
Orange County Bernardino County | Santa Barbara, or San
Luis Obispo County

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

O

LO LO

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

L

L LJ

 

 

 

 

D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[x] No

—

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: ma

 

WESTERN

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

CV-71 (05/17)

CIVIL COVER SHEET

Page 2 of 3

 
Case 2:19-Cv-O8@HteD STATES DISPRICT COURT, CENIRADDISFRIC? OF ENGFORNIA Page ID #:465

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [|] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [] YES

 

Civil cases are related when they (check all that apply):

[_] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[_] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Megan Guzman DATE: 09/23/2019

 

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SsID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-71 (05/17)

CIVIL COVER SHEET Page 3 of 3
